                                            Case 5:15-cr-00013-EXE Document 155 Filed 03/15/17 Page 1 of 1




                                   1                                 UNITED STATES DISTRICT COURT

                                   2                                NORTHERN DISTRICT OF CALIFORNIA

                                   3                                         SAN JOSE DIVISION

                                   4
                                           UNITED STATES OF AMERICA,
                                   5                                                       Case No. 5:15-cr-00013-EJD
                                                       Plaintiff,
                                   6                                                       ORDER DENYING DEFENDANT’S
                                                v.                                         “REQUEST FOR CORRECTION OF
                                   7                                                       ORDER”
                                           CARLO PACILEO,
                                   8                                                       Re: Dkt. No. 153
                                                       Defendant.
                                   9

                                  10           On March 2, 2017, the court issued a written order denying Defendant Carlo1 Pacileo’s

                                  11   (“Defendant”) Motion for Early Termination of Probation. Dkt. No. 153. Four days later,

                                  12   Defendant filed a document entitled “Request for Correction of Order Denying Early Termination
Northern District of California
 United States District Court




                                  13   of Probation” (Dkt. No. 153), in which he requests the court correct certain statements he believes

                                  14   are inaccurate and issue an amended order.

                                  15           Notably, Defendant’s request does not cite the legal authority upon which it is based. But

                                  16   that observation aside, the issuance of an amended order is unnecessary under these

                                  17   circumstances. Even if the March 2nd order was “corrected” in the manner cited by Defendant,

                                  18   the reasoning, conclusion and outcome would remain the same.

                                  19           Accordingly, Defendant’s request is DENIED.

                                  20

                                  21           IT IS SO ORDERED.

                                  22   Dated: March 15, 2017

                                  23                                                   ______________________________________
                                                                                       EDWARD J. DAVILA
                                  24                                                   United States District Judge
                                  25

                                  26
                                       1
                                  27    The fact that Defendant’s first name is Carlo rather than Carlos is noted. That error, however,
                                       has no bearing on the matters addressed in the order.
                                  28                                                    1
                                       Case No.: 5:15-cr-00013-EJD
                                       ORDER DENYING DEFENDANT’S “REQUEST FOR CORRECTION OF ORDER”
